                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Funny Doodle Necklace, 2022 Smiley Middle Finger Necklace, Personalized Matchstick Hand Gesture Necklace, Unique Friendship Jewelry Necklace Charm Necklaces Birthday Gift (Silver): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Personalized-Matchstick-Friendship-Necklaces/dp/B0B2P7CN1T/ref=sr_1_246

   Collection Date
   Thu, 20 Apr 2023 05:32:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eHfwHOa1I3KZUQB1vhsPydbGdVF+WbamUpuXjGaQHRXdVzG4i4M0iGZyDox+3Q0e2l3OCwNKNoEUoDrA0ppZVpyDXzK2aXzgWZSdaBbqFy48GzBGo1qGB0JIzG6x0c73Y8NsNqzIJZfl3TgC/JYj3mF3HKd1/lcQria6jkvZQYQ=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Personalized-Matchstick-Friendship-Necklaces[fs]dp[fs]B0B2P7CN1T[fs]ref=sr_1_246]]_Thu,-20-Apr-2023-05-32-26-GMT.pdf

   Hash (SHA256)
   a0af61d31d881cb498a08403fa166c07e1c077e1f0509582949f4738e3fbd0ce

   Signature (PKCS#1v1.5)
YSAEqzBauwkKmaSJuBqMylrDOCx6MxQaabB7JisGyUhJb/s2/KBszDxWqOV3d0GVKEQjC0Q0oW90YSndEo2s/0OLQU3pteEuHVx6LRJY60cxUZD7Q3YKxbqKfntoKlASIsTBqGZpDYp//iEtkVX7b59S6I06hJlFzsm6plDVzTM=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 23:53:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KIFoxg1aDU8ACrNKF2VKM8eQ7Ifm1ZSP1FnBmgLdc/EmamC8YqBHkkm8601P4GAgK6rA5G5txqzQMvUK6JaeAx74aqbQ51/
   vf1EpqK5hQN8j8qTllrlZENque2hPCkPBfoPPuRqIyn39X/4OlV7dhsfiUXPsesh514j6QHt8V1fK4wP8JT78pRB4D9ALSI9GyVRRMX3hEDh9XI0r61q2uLVTqXhLirxPAMXmuuVLq46oBoNKuXAeJaaqNQECpR9Mgb2qGKWOM+osd4WuHGDWj5RNdPLFkOH8IpolTmYYOvY9MSRo
   +2ElzM2sMnknBSYD1REg7qbfOPMeT7YwT8jL2w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-23-53-12-GMT.mhtml

   Hash (SHA256)
   40b192fff0149bee115233f96669f6f2bc5344b8c96928f213f7c6733ca41756

   Signature (PKCS#1v1.5)
pMZIPgiLQHJtwY0RXlKuS3vPvHefA/iogRqUU/4gv/1OW+cZAWAqTS2jCn3FPFS7IaxwXXRkmA4pm556T55eyBXSyZVhms97DG3GhtoZ3pkforXPywzCGvH6fmi8Pdfh6iW57br+bFM0kB
+qbOuepaqZJIlpAJFpbZM4e2rRjUGMsXycgnR4fP4I04DB74UEjC4SwLHGOdKmHgkVrUAbeQGIPTEDnOL6ZGkhbP21JTmvpG9gva+mSUTn7Zmpkz5/qjzgpj5HkLctQC2aTcQYuSJYFYR0h5HRpdZyUU4npbWrNrT9n3Ixg3GwhYF1VIPKqzVy2W2VLAPJWEhq4SDlDQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 200pcs Smiley Face Beads, 10mm Colorful Mixed Beads for DIY Jewelry Bracelet Earring Necklace Craft Making Supplies. (Acrylic Beads)

   URL
   https://www.amazon.com/Colorful-Jewelry-Bracelet-Necklace-Supplies/dp/B096K32YWS/ref=sr_1_296

   Collection Date
   Wed, 26 Apr 2023 06:08:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dg8aDZpTZp4arqIhGzjnZB19WVaqHfbiZmpZQ1q7Nd6LOrxAL/Jn5oSr2FjbEC10EoN+bWlQzGCBI6Xhlo2yhGdEq95KdmAqajFqq3ZmprCRaL/GO/NBOiIRmAMB+1ddKczf2Yz5/9PDiZoTrerWo2P/6/B+vnYXYp1RSP8ri9c=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Colorful-Jewelry-Bracelet-Necklace-Supplies[fs]dp[fs]B096K32YWS[fs]ref=sr_1_296]]_Wed,-26-Apr-2023-06-08-45-GMT.pdf

   Hash (SHA256)
   7ac7de656f4f3bba363a2a5aeca67b8cf92802bb28803540ac6f64dd9f1b7294

   Signature (PKCS#1v1.5)
Ce/xu7MaVx9FNxmkQw19ixXGmpzMTc7Ub3y27UnhzGO/ga7snbOHsD7tCuxsUOyMzO5CEmWwLXgjB4qlBWM4RouHGOtN2xO15yP8Kzz+Oca3YtdYQEEdXotegump6TN/QOiILzGQtozliYxC8O2Tb/RuEnrZ7jm5339HbyuEoHI=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 09:38:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z+7ob7cMXJJhN1fTX6gQDeyXU0sdZQl5ezOAvv6SO9l1nAb4cRl7C/SSDRLW0bk54iSy1hxPHNrR9XRIUMMRYCcqIynuGXLL2WYSyijfbmfl4cUP+82tvXJG0qPKp/um8D5dd5TrRirp3FjwYCbWfBNSnPkfJmfRdZREcFGQ2gPlsTn9rCBd+MLQ0kEAJHjWgwKPAcFcUbm+
   +sh3VcvMxqvMTj73WEElbpeVBo8C3PrCdJssRQzGQtwnHXhJlISHtGrm3Cd9Z904r4tREhiadnIKuQQeCjuZn9l1Jgn3MsEeAXUKkR0JryNj/vmLA4jngLu//5HNbV4fleB6dLHJ9A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-09-38-08-GMT.mhtml

   Hash (SHA256)
   3ecb0774fafe38c68244b679af03396513ddb9b4bb89827781227fb7788e2e2c

   Signature (PKCS#1v1.5)
pHcaqGVTq2OSuUsdvNhy/4HKc/woRTg9DyhJ1zkHK8l/ybvkX32KsOOhG+NXMRxG+UfGuhyBSfqL2Icmq4CeRY+cd6Py5Fcb8hYhXS113mIWiUAeYuhrJBzULJK1sIdklDdS8KYg8r6XobDM1VRJWLFz6tQrb3LbxKG/8Kor7q/LvyUhVnHDZTwkFgfXbHgD+ciHlLk/
UI3iRmK3ByK8KB55cOHuJSqVQ7P5pqegRUBsF5sTBVzJnj0mB4awoGRju9rMRkCLi7s+xLv7vdRGJz2St2aAiyAHkxe8KS9orwBfmVRbL3mAVHToikI9eErx5qr+Qfi49M00Zl6U4kK7yA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Evil Smiley Face IR Patches for Embroidery Cloth Patch Badge Hook & Loop IR Patch : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Smiley-Patches-Embroidery-Cloth-Patch/dp/B0BPD9X8T5/ref=sr_1_151

   Collection Date
   Wed, 26 Apr 2023 08:29:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qn5X5vx99cSsnp7hHIrVraWQ3szj+HdddVQmNxfNAJTV6lgDWygNqSNxI+CW5HB2nPAbyQ/99vrv3P+AAnzcAVUcECmp6avc8VHQVoheWsCvhCJf/VnEqLtTW+FNT+394GJVlqTiOm9Hos++9jkqJl1Jlep9IsDcEyxOxux/EKI=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Patches-Embroidery-Cloth-Patch[fs]dp[fs]B0BPD9X8T5[fs]ref=sr_1_151]]_Wed,-26-Apr-2023-08-29-00-GMT.pdf

   Hash (SHA256)
   faa3f553127485331217a381cec758e055d4ccda69ad0ed4aae3c6123174c38b

   Signature (PKCS#1v1.5)
h2ivXdcRklOZgBv48ZMWgSOfi/SpfpfqaKNMFahulvOr7XR1NNqB87QmGKDBhvCV1xKhwbuMC24V9/dJ7684BCr8QXdDoCLx8QtErdT6WeR9tJxcNCt3zoKWwZBb+eOEBCy+HpwzBZsBScYfiMXhC+xAdueY1k/7ZTPecdMPsNw=
                                                                                  Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 17:51:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l7U264d1HjvUQbnwjU12nKgRfyNnYrw4FXXi18B32IkiM4tYoX+97NlM8RlVZ4Urc02V0GJG7WkaxHt3vA1riqUgjC4dEUzyr3psjqYd+gxJP3VkKMRYydWi9IBRh6GmkjZy
   +CkVajQLIheFrgAPZqGHlU5vBh4OIYIt6YqYUh4BkUaFn25MBhymgRPEmQyxbnx9uOvFJj6rMV1xZv7TvOGXrNkSDn26bMbA/1fcx0WrYqnZFuUWohtafQ1DvV0gJB1svhFUFvoCLVE0yX/V3OdNrzDqB9j0uYF8KVndBLYwj3JiYIkAyD6e1R4sYwdJlcjR1dmgvIeBTkLtVtP+UQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-17-51-04-GMT.mhtml

   Hash (SHA256)
   f69abb16a79b9b054e8a5f9c1a1d0ec89027dacabfdb4570027a2da39cd2f9ab

   Signature (PKCS#1v1.5)
pIUphnkbVfkKwEka9UNtymlv7mg3G4QKefzuYEXlB1shsNeqM6oJL+FG1Zj5OJ0gHUJpkpoQlAF2pRqZBkTwC+CSiheKf/tirNZ1BbnztOKr8988J8LwbilDuw9Owhta+xgaF9L5C4P75nnwNGardNkoIa1PkSMZtc0ZleZeeFTn9UL+798ljfn2/DC/9zwf4g
+IdvpxZyexhvm6bC4bbOkGdZpadl7jRIOq2C4d6XYZTTVvUo0cF6jh0QRqTBxyrXbKaBfqOZddWURSdUntoIu7ZQhh1qpWXw/wKqWP1br8Xpt6ScgECuePJfVORRC+aS9ye9r9fqnotAaRJfglGg==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Frodete Rainbow Bead Necklace Boho Necklace Smiley Face Sweater Choker Necklace for Women Creative Colorful Beads Holiday Happy Smile Face Necklace: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Rainbow-Necklace-Sweater-Creative-Colorful/dp/B0B3VYK56G/ref=sr_1_335

   Collection Date
   Mon, 24 Apr 2023 06:44:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sJNUDrHjjVV3Mm1cbNU9SgOSpZXc67esaxYxT4L9sWVaHiHveWllS4TJNyijTcG8zcLQRyeDgaUVFAlWURuwtYoaT/pljvvNH7Wbqy3ydynRhb/pkrFuooiEPlVR61kOPPPlmlvUP4RF0M5kCmFRU6XiGDim3XsdVw8dKHe9qRs=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Rainbow-Necklace-Sweater-Creative-Colorful[fs]dp[fs]B0B3VYK56G[fs]ref=sr_1_335]]_Mon,-24-Apr-2023-06-44-22-GMT.pdf

   Hash (SHA256)
   7b0a70b3cb0e7e63b202fb6ebd76fc92dafcff4821b5a90944cbab38f3d48c3d

   Signature (PKCS#1v1.5)
hpyjlpQMe0GJ1JhKnixk8k3QrO2LfqKXNMsegU6QN09kSemrerI1pL4JCzdQRX55+zy7mixtjWtMzQ9LmZ+uns3xQ8RZnPPngqUtSr6Ih+ajF4VIC6d/SAcXYDJewz8MIJ6Dcy8QQeqdMWUacNPfZtiA9VkBN2BKb0vSuMcN9Vc=
                                                                                  Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 00:35:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jEKhuuvomfRTOmjVP1gNkSjj4x7djXQZT7G5ud7bmDAJmCf5DUxczf7qW7OU5hKUttNanTJHbMHWXXmGOUbCJXJ4ZtU0Wu4IwrCL7fMrU0JOie6I31t2Lbem7clk4ddigfHJFkwnaNm58/UFZWx2dmHyiXxdvGEm1ydAQb6HjMvaHjOwAG34odz/aRd+9xpDRsHeit4J
   +AqUhI8UwC70Ukwrh96Y2HqEf4MFoG5yjjXjhhYovuzxoZz0LFVorqzupKbWxMXcwpTGk2rYXv4v8/ZtcVzp43NEm1cGo63o1CAdV9NDcDyb/h0POiVb+mOFw/ExVV36JqADJFT7yWmQew==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-00-35-34-GMT.mhtml

   Hash (SHA256)
   f62199287d7eb4d4f1d47c3cb220fa798decdea73c44951c5240cc9b8eea1b9e

   Signature (PKCS#1v1.5)
cjWhhv771lyYgiyP30ossWXMG1RnUEZB2dcUZFCM2wbmL88vp/byzIewpPS9hxu1aXXMi/GVftQXEeG7Sp3SOAAy7WIiIDjbgeok70yJ/ift6nMsS2nDOY8YFbci6/IcRR9XsssG/Kfrft8VASYb+CFg+uF7JYWckYDzx8AFui5TpOF4N4qXckvTDUD/
L91W0wGhgZVZ95APXW3LfIy0OamYG6qMnKJTUNqMSNz+1TY8OWST5wduvzmByv2auNvyuk4QCYV4c7mzbdkM+PNP+p4DdEtV/jaat734F61zFfylzhSTUqvVFFKzdkzyskCe5zwytUyvlQL/Mzrb88gGqA==
                                                                                   Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Daisy Embroidered Applique Patch - Flower, Smiley Face Badge 1.5" - Iron On / Sew On Patches for Clothes, Jackets, Pants, Backpacks, Dress, Hats, Caps, Jeans : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Daisy-Embroidered-Applique-Patch-Backpacks/dp/B0BQHSCFW7/ref=sr_1_106

   Collection Date
   Wed, 26 Apr 2023 07:44:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K9CuL07cnJZReIi4EUfP/2JIvdb3ZJ198inUFK/R9MFVELC0tVKk1vytOedLlhizuxvCrFxO6NBFSKSFix/RfDeJhzXir6CBxQXAJWrv9qlBq+3TfDLaOoQTR6E8/SMgoSvq+H9uFgj32UpAqqhMx/enkwlaTkRhk64jTnHp51Q=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Daisy-Embroidered-Applique-Patch-Backpacks[fs]dp[fs]B0BQHSCFW7[fs]ref=sr_1_106]]_Wed,-26-Apr-2023-07-44-05-GMT.pdf

   Hash (SHA256)
   30dc30fa09d0981e1ce4ee25ff152bdbeeb3c98a620b993abb0e9df447f28d8e

   Signature (PKCS#1v1.5)
M70uDMn3ZLqOUTm6d7+cenZMsyPKtvC49vUesdjOsXSYLWjqMcaiG85/vqKnxkmkFeSE5uh55cLBJQNUqRKfmuKAoN0Elw669Vm0KRy/8bBXnpkU4ratcFzzRj1yj26+UqciZu5NlglGKKbJRGgnyPDGbywVPmIYkaPoL/FMiuY=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 12:39:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YFK2kqKTwyTBw+6PhcltRSwD6bz9la/YzRFKQmIEjhVPZ+vk0bXviVp6gZ0jzDTDamG0ypm9wyDi+pEzW0W9Yu7ojP3HLu5xQ/qQvd6DlVgO0T6z/oZ7b5+E+XoCWz0VPAO5Gh4bHHZQ9y2c+CFDmVtY+0iZiHGKgouYJl6reA6SHFH8W35qDv+e0zzjzPLNy
   +eavEP9TFJrrFJXrJ2PdL6QNTPh7zhcjQhB6Hcopl3L0tvJtFpwcWinw6+5ILn9O/EPDodRLcITzdgGLuH23oDJ5EfgRKEWgXzI8H3q+bBjCtwVD9/4x5WRzWVsFYCRSBfDuAtQtjCbks9sWsdC1w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-12-39-12-GMT.mhtml

   Hash (SHA256)
   8d484188c378d1f81d477fa5b19b4355bda7dfb4b2acc65080dff05ce8229c2c

   Signature (PKCS#1v1.5)
ldoqWbKFwXXrpUE1+1M6OhtmwwlCPksRUsN+bWEK1p2/L62mkgmSvzHf3cT0zzT8vmsStP2l50W1zLOKwdjw3ivY52vyjtUTT/i+bcbD+2XJ9Q7W+sF6nwnR1ipqkVkt+W7uegEhITh9RyH1rJoZypM1h1lXaNGaPYvvxPcTq2BfWNsknq3IXDYwlIicoPv+V
+W1MhguEc11fTYpYkHRf5vQsapqcNHrQlnan/5sKYapJDY3uFweDiAGGvVVJYBIWyqEmBTl6pqpiwwlWufvPEAwykiP/1cbEg8/Te63SihgN6tyC4Wwk+YqymjFiuZ+Mtj7ItTIu06i9S8kwY5oCA==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   20 inches Necklace 7 mm Stainless Steel Chain and Side Release Buckles Smiley lightning for Mens Women Boy Teen Jewelry Gift (Black) | Amazon.com

   URL
   https://www.amazon.com/Necklace-Stainless-Release-Buckles-lightning/dp/B09J93V4ZD/ref=sr_1_385

   Collection Date
   Mon, 24 Apr 2023 07:03:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WeME7tWujA43HvAbhLN6m+lL+qEkYYoR7YTflByyXMhzxe4gkd7bmht9YVWfrYbWk8wvPPOeXUTKNCRgp3UeazLI5L0cDBqJnAOkCP9a+r0mUwCMiCtMVaQ4G29Pz/xYCJCoqrAQIe6Sv8bEVpBp/UlqTKX8GRGlh9h+f4l+Ub8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Stainless-Release-Buckles-lightning[fs]dp[fs]B09J93V4ZD[fs]ref=sr_1_385]]_Mon,-24-Apr-2023-07-03-44-GMT.pdf

   Hash (SHA256)
   46e462dd0b6dce2bc947d57fc558566c93b4eac0793f5fcbda79fb84f347de0a

   Signature (PKCS#1v1.5)
TMo443gA+5cYn4QrxqJ2/yRVz1s46ipczpD+8ZxeJhOx0did2qdfmdIPTJjTGNR21IoXBddyv0vbsLt9vUOBZAcZecizk1aOgIUqxu5boWDVtsLAiWUbvv0fS6SS6OsVd6GD3emOicNgpHn0L0fQZIppHRoOc/Yscgpsr8e9VEA=
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 08:59:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qD9FGT4cYXENkXSzYQeVCf7DkR1rCZk7zW0ipgeykpuEThKnCvbUkqFGpq2ztcIe5QgDHzhqeKXBvm3Ad3w5yyeGwTJ02asPtfyHGCK1BlJVkdiSFLF3gUd5zAnmvXUGdyou3EO+5hpMTyLHxM7yDAj3XPsv3qfF9Ck/5jYACGTow1JB8uUbghsOvxnPK50+HcH60OrLX6fmJuwYZxXWP/
   JcLxUcKnrRKDlOl2FyfAwenX/JWyIYW/zkZyo0ApDLhCVBIE28vOtFx7tRPv1Pw+YhAvTy6m7r1ZEBaP3tv2Bvk8RkH5CSu1EKJhoTWqWJWZBJw7SiACz3QWxFXOcUAA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-08-59-21-GMT.mhtml

   Hash (SHA256)
   a3cd30a0b003585f6b76aca42d3557e821aedcccf035b893ec8c0914f5dff4f9

   Signature (PKCS#1v1.5)
aWVknzhdO8K7c44p4q8VoGoU1+sTSUlLMUS/K3wHaMUHhL5aBNMb3BFrBszGIvmVs5VPv9CM7mWHiAKHq5Inng2DLvkOoO3BUPfmVGA3bMAwKSymwlurKJGpQBpjUrKnxl+sOF6RxCi2CodK6yYBcAjpuTTp7UqgHx+1zuWBpbrsSt3/RyG8nMxRuA6kFF1sgjKPp/
rZt6IWMh6Qij8mrDZk2AxJ33sYlTsIeykB+PMWV7AAU2YzH2wInW2o/e+pAgsTgPy6WFdXw4RLorgAtGXeNXG5cUUY3y4UberRwePYAjDEWomxyR6cIBguFCrFMYP0p0/GX60RV9NAyUiTmw==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: SUCOJRFF 300 Pcs Mixed Smiley Face Beads Kit with Crystal String, 15Colors Smiley Heishi Preppy Flat Round Beads for Bracelet Making, Cute Happy Face Beads for Jewelry Making Supplies : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/SUCOJRFF-Crystal-15Colors-Bracelet-Supplies/dp/B09BJQ35VN/ref=sr_1_54

   Collection Date
   Wed, 10 May 2023 05:15:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bhhfmcv+x6ZwXMNABz2dg/8xggOSlnFe92NlVFccTAeCOKSp8CX/1PYMLOnPNJzVNd/+3VY2uB7uGEw5IpKigM1O4h0gExme8Jq8aaptA60IU63NciMQivwavRLr9gar/0AaBJI3QzoUC83dX1xucFpV9BLNELFadhL637iQDh8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]SUCOJRFF-Crystal-15Colors-Bracelet-Supplies[fs]dp[fs]B09BJQ35VN[fs]ref=sr_1_54]]_Wed,-10-May-2023-05-15-28-GMT.pdf

   Hash (SHA256)
   22a6e189d00638ec4ec30e01229d43cf0e62b89d2837d27322b2aa73285cc350

   Signature (PKCS#1v1.5)
bKIozt13TTWxeJQ5f38XGDzkPMiNM8W4U8XifJCQARDjBPOCtDl0yITJkCqH/HBiVnUx14EIWIO8/Cx2+ZkNC/NfnbljBn1IHvTgo8Vt4zhlEzc0jCKF4ba9UmyeuYJY1VaT76vAHfneYiZX2DzR1RT3ZWRXTxJ2MtJMz2oRJBM=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 07:09:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ITkHvJWPjTu3Ix0ej0UP85f+9PVUwvje/q9s9CfnKjctXFC5x3TllQijSfkCg2qae9Gu99oO3uh1oQngBff6cJKlC1vFRaddZrAFLRaZ+H7zeKrQQCKIRCTZpAnjZlcprl91RuLmnDMVuMQK/XHNv0LoKey+5/PN1tOMwbfbyw3CX5cmiAFEuHz4Cvspu90g+eDBzhKdtGET/
   z2qpS9sMlU5kwA0SFjuJD8iQXHRoPwREYY2LnhtRsic7kDCa4CrGRm5A9aLxNQ4bRsoYNBqGDUN88e+PRL0JOFsJZrsRsL2cnE03Aasbh/kWnD1gIJKUW4rw840OLaMfYfdSMn1sQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-07-09-25-GMT.mhtml

   Hash (SHA256)
   ecbf8d922a529a05bdded2043cc79539bbdebefebbe4ca45039bc90c4c7f97ae

   Signature (PKCS#1v1.5)
gZ49mLmOigii6zwDede0Fv1/h4ePlbh7JchQ9PIr+01LBXR3s87Jbzj/4WgdD2hTWEZImYFKTchp8exvhVrfM2JTf1e/j5vfcco67W26ZH2VcHCO+rx9LWZ2P4+3A7wfDRMXiDYoIBqnGq0f8iU2JglPcsXqhPHlXjyMrYVM2IZndtfsXXIULi8xAZj3gGIAKEEJSDxzQILcIuHrGqC0Y/
idGUUwiVXDhnliSvFOX/NgbkPJvm224gQw/6/kRfdRlLEaqtc+23UdADNhtlHERdkWbKTIKA+YXFV3MTI1t6WT6dFpjsxZyp80I6ViyW3yla8aQjngQ0K1tckdm/x5HQ==
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com : Novelty Cowboy Hat Smiley Ballpoint Pens,SunAngel Cute Cartoon Pens Black Ink Pens Writing Ballpoint Pens for Kids Adults School Office Stationary Supplies(14PCS) : Office Products

   URL
   https://www.amazon.com/dp/B082H1GJ3Q

   Collection Date
   Tue, 06 Jun 2023 07:18:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i3dQXaSgqjmAHi2WfuLMMcsRBkjVjniWmKrdfA+uYUtgZpjEjoc8Kh4q81kGnJy0L+0GXviC+Hm9X+UiIrssRpYycp+0FzEm9ODZ2GEzU4DTqxxrUGOGejqU6kkOF9PajNO0vlPSzRGFbRHNISc2lVBTd4Dm2qOB1W6AyD/pGqsdM1ImzJ9BQ5LdqpGHTUcKxZ4k02HXmRAl6GWQR0mnYALltH
   +FmdYoNzoMcSpOwI7tNr6BPJJkFp2nFVEIPAWDmFt13lc5gY8ETC/v6OTaXB4NZklSoVVpRaQSNcmgS2UQhR38GYMlJY5DOBF0fn6br1TNL2ooqcPQT9r16jQ0Tg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B082H1GJ3Q]]_Tue,-06-Jun-2023-07-18-24-GMT.mhtml

   Hash (SHA256)
   3170bc7efa7592c0ffb89b860e8cf7d76a7cfa3d28e4550da5c0b40fe55828ec

   Signature (PKCS#1v1.5)
JSabkEt8n4g+Sm+iEaMYhII7JBmhLI0c+k5KGMSHkiYIQaEarlT3ckDuPA81ZAkc96d4ItEg30ezLbCctcFQIHqgVxpzllSo1HQZKpq96owIuLHyCvCedZf/gyIDZ9OYjInED06BO53maNoiuOUe8+3M/afsbJ7I8D8M453iKtdUEVpFjPx23qO0CNOdok3EQaCgPIACzCFQqQfkHNSS
+jpGSOv2LrDGnc5YAjimSts4KtzXlTpBFctwif+1/yh908HbSTqp5g1GcpFtDxdt8/zY4918stuoUYzP/F8MP2a/jWONSxYqKC7iTgcpxrJpdLh2I+fWZsivNzcLvHsqzw==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 07:22:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kj0u949vGPFpWgvD1B3b9t2F20CJBeCOjKh+XvAC5C+Qgaz/3RGLdlFbU6IuguPwm7wgx/opLi1udZnNrpQEVLYYAwkjlQKYtgi5E9ulgBsS4prcb2J6kaAp70lz9z9CKOSBmglyvH2tgC/qErAvhAZfbBu3lIDLE
   +aotndVBpE5FkTtRm8HwxunccFsvJtPsHgBNxyNbLrkdiakcIqxbZNcu1OipqegxfY9oh1g3HAFPTWrZDtwSoN5sF8GxoBSFqr58Kf4BkppHHgLnXuGMqqHTebCcchOncpY4x4KDMhpvDPGB2CzjmqWkzQRgeIxnuyFGgiPxFQKqZIHMd4jpw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-07-22-15-GMT.mhtml

   Hash (SHA256)
   f6d3f25bf38ecf35f80cd3b5879f0785b2cefd24f43f9deda1335ea70bb67867

   Signature (PKCS#1v1.5)
o5FLOowjGotKNXTsj60ojfTGtTB+qM/xIfEfdloJ58frnPA7Q19h6C3k8zCOYWJqqiIS9W2nQ3ZXCWZqYjkPRThYij4uOF8/mxqHN67Vm27BDLN6NLSMSrDJoZtydORnp/ZFyxrSHNUQMA3C/4X5F87d0DtrCqyd6isn
+JNu5OvtnxNVslko3cvO8ikrIqTUVwsqiyFWlsaGb9MJ9kiC/9Gz3nXlKx4brVgK9ReKzV2tfQOMIDQEkXt3+UICO/ear2Jl7ND7X7KnzbuA3Oyb/Mm8UBzRn1RGojU2H8d/fqiixvFs01Ys1ixQTOxJaw9wFpIjm7jC9TDgYGP0w9FMPA==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com : Cosmmap Smiley Face Badge Reel, Smiley Face Badge Holder, Glitter Badge Reel Nurse Shaker Badge Holder with Transparent Card Holder for Worker Nurse Doctor Office School : Office Products

   URL
   https://www.amazon.com/Cosmmap-Smiley-Holder-Glitter-Transparent/dp/B0C1YYYHQJ/ref=sr_1_28_sspa

   Collection Date
   Wed, 26 Apr 2023 08:14:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Yn7woDMsk1sHjoMtzqNKcCUtd0SbGnSdS3kS1WJ1OXtGJQv05BlL34qc08y+o1YgcTm2ESDx0DfQb6TsDOF5hJStYai3CqKmAbfNFPF/Stxe4Hq9cYi6hC5aQl4ChsF9qClwIvuUkSjsV2o1g87UarM3YgEqF1SdWb+lot+jDTk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Cosmmap-Smiley-Holder-Glitter-Transparent[fs]dp[fs]B0C1YYYHQJ[fs]ref=sr_1_28_sspa]]_Wed,-26-Apr-2023-08-14-27-GMT.pdf

   Hash (SHA256)
   e4afcf8b1dca231f1ed0073d4dbec8412422607dcfc17ed28804b76a8bd658dc

   Signature (PKCS#1v1.5)
AE78W56FYvfT6jKUV8hwAIbQFwFV9sms9ZDLiSfGFBdssMKFAKYOGlRyVMcMT2VSi0RBI0Exx4n9CmceroVNklgGH/VwmEOZSPGVMb7DmfI1nrzZ0E9C/rXfIngoZO3cM5aBKvhycemmm1M8CVnZ4E6weqBS6DmJAjPUxfA+Zuw=
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 08:54:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A3Qn1u3Xk01ys8Ux3qkwLrSDzyJ7nsDZwbG8FUYRH3gop1/m3NT8Db7KoOzjfTOp4H4h68C+wGxTRvtWH2Jq8309/VX7bZax8kIJkP0bwteh7+5Yyan/GGqrJEXtACyuE+8Z8il7Cl0TznM4r9feBgm1KalWaII4up5dCJPtpdGq2Kpf6rVYcy+7ns
   +PUyRxFeZnqQ0UXJ7F9SkGzlPDSj2ijlg09XBRFBZZel7RdI10kf+oEL0uOZ7RsaZPwFjoczZgjnzVjH7ZwvUU9/QHogso26uLU9OjEdKBMGTnodfGyXwVCywh8ld9PCsWD/tQQOeF0de3R96zAvhwuacDzA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-08-54-37-GMT.mhtml

   Hash (SHA256)
   4a2552a9574fbd116d490dcb90956792cfe33e3dfb42bef9376193f9d493bb74

   Signature (PKCS#1v1.5)
DgmR1w6I77gD7GGIQJtxKLX6MIUD+zt0195/6HafKZUzq4e+ue2NObi95neUtejlihEWvmnIUQgzAP7e3scV7hc9uxSLKDV6E8yKJPOTkB49qcwKUcZEQ2HdFbj3OjDabrj3XaDeu4PbBRCsO+L99hQ4c92rEaYR9tP3GZ1dvPJnq3xv/6yj9Ea5CJSxC1xdMl+f8HmGHcx7NznccgAW7/
kGlBaWCuSnmnsNGPXI38LhtHq6gv/vw085fu6PyL8CXW+z9QYcmkdjlYQ5gZqUH5zcZ8gLjrJlvKZYpkTA5/CKBdX66J+icbF3zxM2xtMvW0MswzoDfXMBbvtudyezLQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 19 of 40



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                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 05 Jun 2023 11:21:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.138.143

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   F983HMqGGntYxEki4JcmiJcon69oa+GB3xb5BTVrig/3q/EVrqqIUMZc5zjOH2CfxxpmWlEsZuZjMi9S1jvsFX7lEPZ4SSM0ToXi4zZBRauI+7SliP8LyOWlxj1kL1Yqmt+NIGgCZdIfe9FjtMjQM2T4GoXOI7Lnrt5Z99/7+ytP9ef8WRhF3g0BK5/44X7/UK04k5hird6ZMKRb8FqdXILYgkCs5xMj1s/
   er7vEP4F0xs6qggWDOV4KCrj6srR45krE5UqyyUxSb9w0AAREHdSwZ/DZ1BTne3zGND0cbFRnJKjXuDqZSUG06qs8XWRTjiFP1C67l+hx+RIGS1fr+g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-05-Jun-2023-11-21-13-GMT.mhtml

   Hash (SHA256)
   9603a94165f57ed8d87deea17f1897b19b95b00531ea93558d0305574b646d8f

   Signature (PKCS#1v1.5)
NjXplgE0xERycu05ydm6oHgM/PEpSh0CgtGkmSH3WjwhOUBc4WlIQ/eD5674IhcJ4cR2u54xtPHD7bsX6aQCJn9tuVCyd/mqPszmElyTSWUXtzP+MZDAEEf1E/uhUpsTlYnBqx32gU+ILVfZgflrLbb5QwWpoLSSa1Te8E9pjfZDkJIeUTooqKzhcImkfMu1gxE4SWU/
CYsK9co4mtRkyPe1TSYzLgfuWMFXBxOGfXlnpA+/Zg/EoWdyErjNngMbkMR9ymibovSGLTXASRoQMnDCwjw3VEk2nsoYlTXfOSbMe5bNaeNbMetn2BaaGt0l95tXkf0YE/zL1VOPg6gnbg==
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                                                              Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: ZYNERY 34 PCS Iron On Glitter Pearl Letter Patches Chenille Heart Smiley Face Patches, A-Z Iron On Letters Patches White Varsity Letter Patches, Embroidered Patch for Clothes Backpacks Hats Crafts : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/dp/B0BCK2S7HH

   Collection Date
   Tue, 06 Jun 2023 07:19:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AJ2zit8nds8agra8scVaoyyPeZZEjvj4Qs4ktAJcdizz7mYQ6Ggqupagz4o7uICHdev4HE0tqC/mCofK0xtak4kiIX9FAdWsF+eqScYtzalVaSiuD73zrsRT6KFWbl8/r2Om5ft0GEBlJlR6sK0l5qwDA1pCifwx0+qFdxKz+Pnhhh7M6r1/Dz9qS8/
   SNy6y61zH9dB9bmgq0CHeX2BWHta8hjcADmeZw8MovoUAstkWurxTYT9tWeKBrUTq2FDx+Ou9QEUyWziL4SO6GNzUMCIqZBLoYOLtt3BDQjrI4ah/Wz91jkXvX6tbGW97IjYryJR/EMx2yNmvCfKEsG1h/Q==




                                                                                                          File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BCK2S7HH]]_Tue,-06-Jun-2023-07-19-24-GMT.mhtml

   Hash (SHA256)
   c930c2a6dabcd2c9ac27a846cfab08eba0166758840ecbe2f074f9f87c29c09f

   Signature (PKCS#1v1.5)
M9jAxVAv68o8jTr+qrJEzCBPMSff7AmyZe3REHgjmdhwhJhyXCXkDhiyQmfvGnhzB1IkYW0My9TeFyvXwsxwebjmpUO3H9o4uo2q9N8P5CkpRjFQ6icJIPktJycHddPmWy2qeirytNdKAs7XQnex8tzBlMLtkRpDSMSMdofVkYsb3pU2dX6wmBIdESkXmA8Sg+KT
+mlbceZB8hEnWZ6wkOfrkuNZ0VoyisFTitk7QFjCSyyUs3bAB79Nl/Txw6Jt0Xxpa/vMrsJlpjp6pqTGaqQyJw8Jg7SldIi1aSiTkfnh5yDYjmxngHML+ydpAjSCU9v26i/jyKG0LER28G2IUw==
                                                                                  Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: iPhone 8 Plus/7 Plus Phone Case, Smiley Faces Case for iPhone 8 Plus/7 Plus, Flexible Silicone TPU Case, Slim Fit Anti Scratch Protective Cover Case for iPhone 8 Plus/7 Plus : Cell Phones & Accessories

   URL
   https://www.amazon.com/iPhone-Flexible-Silicone-Scratch-Protective/dp/B091GPS7DS/ref=sr_1_259

   Collection Date
   Tue, 25 Apr 2023 05:02:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IdnxoDLCfHfxLoenbjEr0iDwS7mkqtf1wZ66a5k+E6fWZNZ3vI4zIyN4q3nI7++RT4BIdL+Jf1Q2IOCEjXxCN6PosCfms3nk0LAZR8CdUB7lVBdREK/09aTHCYKsgcl+aATfSChyp+LVlhKu1Ig2BZGrycdEvFj2NfEdxlXA8iM=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]iPhone-Flexible-Silicone-Scratch-Protective[fs]dp[fs]B091GPS7DS[fs]ref=sr_1_259]]_Tue,-25-Apr-2023-05-02-08-GMT.pdf

   Hash (SHA256)
   108c8f2456dcd6e324803264874b3a8be2cd7e66deecf3965d88406983fbeee6

   Signature (PKCS#1v1.5)
W8AWIN3oMyi95argJoWgHubaZyNBhhDU68Ti6P2SFWrzci/a5FuOUxKfIMN5GTVbVgZPQ5RtZ9YtWOJqJ9uhD7Z1z4YNalea/Q6c2ArPR3kpAx4m7FY2q93An2bZPe8k8lNs6rlSiU8TqvWGcwuJnZTh6nym6rCZFxqR85sI6f4=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 07:28:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ok1RJQnGRysZzezKkxmAkD5J49leT05ezJiFhx4qBADsCFAN3pfkX3YKOm64UAQFSzc3y3fIOJ/tnVxkhYMtSOCQgmT1gWonO9n7aD/dWs2A6sw026aycvzyJOCA8Y/9hSugP2KMEe759th82e5P8Nwk7SW1BIF8d27l6xXNd5peYURZJzgvSz5bRfVdfstko5c+y2Jj2ZQLxvr1TGk3n
   +zTGq5iRx/6liRZK/dOx3efcw7lty6nK8jnpasgWVR1pVHzyM5eFZVmnnqr/kuTXFgwH8NsxiwDQmXCOUsvo6Cu4dz+9K9Zo8vcbhGTFyby08PGn0BD80kegamic6c5RA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-07-28-34-GMT.mhtml

   Hash (SHA256)
   0101b72637159c34e8a2514294f1fb2eff143c9cdf42a5988ba13d8486e4287b

   Signature (PKCS#1v1.5)
PL1tyhBw1sGkbxh7qt8f9ooG77THLvtpcAyEEGQ2NOYp7AT/JSBpxEd8PDOKkDlf6/oWvx52QKMfk7JYJzHAU49AYWlOYc/WsoVWNekytZNl8UsFbT69Z/RARxn+MxtvEb2CwFQ5TNmc2WDMH0k7A6qsMjrpkX4e1Dd5LrqbVP8SjGl/H7yCuj2oWCspvRUYoIWE3jx5d7p6QF/
LpGhJxMXdrqdBkfGhTrJQjlqrBzYa5C2dCtgz4RoZUrb2OAU6I6je+H5y5VmD+T/m+HorMQkvtbljIC/o3ixEop9dmJZAu5Wmqpo8T/GUG8Wpyb2CeFQcZAKlthD3PTEBFDLzng==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: KOHOTA 300pcs Sunflower Smiley Face Beads Handmade DIY Y2K Beads Colorful Fruit Theme Loose Beads Spacer Charms with 2 Rolls Crystal Elastic String Cords for Jewelry Making Supplies : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/KOHOTA-Sunflower-Handmade-Colorful-Supplies/dp/B0972PG4Q1/ref=sr_1_92

   Collection Date
   Wed, 14 Jun 2023 11:30:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l8YyUd9YnNzPBfIBgzctGZPuAx6B8W9KRYR6oz71piDipYbqBftV39MWxM/c1EDFit9glomi6kOOuIFPPKC+/gsX+oZYsJjYk2X2dY0eB3eT7A1Lqpt4dpn8QjPml0WHXeGQrQRl24ENjfFw3mvXgUdv8x1N2MuQ5x3hyJpwUdg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]KOHOTA-Sunflower-Handmade-Colorful-Supplies[fs]dp[fs]B0972PG4Q1[fs]ref=sr_1_92]]_Wed,-14-Jun-2023-11-30-53-GMT.pdf

   Hash (SHA256)
   6a6bfc7297845c922f197f0c8b7801bd6c7f971f21bf2c1569f0895baa29aa63

   Signature (PKCS#1v1.5)
EPlpBTSz4bsi/J7FmDW7ofCTxHor2SrA3diwjG5EfQ+EOxhkRKr206ZSheRQ3BhatrmCV21gYaPvsD39IvwW/Kr5HSiG516nnp1r7DC/asO6Awd32NSeTDGikW1duwPQFoljVBNdn3eIDGH2BTKjuxWOuhFEpvDKsO/G8P+tK2g=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 10:45:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   P66hezJNCnIU9Rw8NwWMEtqJty1kE8DWpca5cS7i9VecWDJFnL/knw1HfwoEfRV8yDMmjN/b3QMMn0ZtPYGNYBop3gmysUFB+v0/re8DMyvZKGIlIwYObux/RlS01eAZZT8amVlKRkw16S+28t/QX
   +ZCA8fiJ6SbqDARnlGaVeO/2GQmsQIXsca222a1JDEDCq6kfTSfTNWZ24nva5dL8syg2NoYpI7EVfBbbVVb+pV4mNVhGKxThR63i17GKIwidvPXK2PAtJ/iy1yXVkYMJeSfv57cmwTvWuozBESRg/4YR87ikO7on9ahg2Wv2/a8rEgu1iUJ+nvPDOQE9TuHgA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-10-45-57-GMT.mhtml

   Hash (SHA256)
   68d6afbc7d0f7fe057c6e2def63db062f9100082a73be16205898db415ffb92c

   Signature (PKCS#1v1.5)
qhM2/JCMdC5cKeg129TOanOgq04fGl5f/
u7eIVqvffbsRQQdI7PfpoPeUxGfm40bVGSR7wUPTqCRiRRnznTWvZOUhHIAnKtJnebgOR6efLtr0KexJfyN3Xs9n9sutOq5iBDulAQNakmDSVWgaRaEZezGw2Gtf/2CJ9KhBbXM2WjvJCl2Thj3yDAm19kIewy04m9Oi6PpGfdiYDZU7MK6d6U8XPJxNYwfQU
+ULCd/8HUVIcfRpIMHBVIGX6c4h3UaHaiwxlq3yk4b4oIHdWMWAirOVhyF8vu3LdUnEVhbz4wrOr5Msu+uRbesWjsf7NGOlTmQ7AaBQNxoaSDKOtEVzQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: HANRESHE 6 PCS Smiley Face Preppy Necklace Women Girls Heart Round Preppy Necklace 14K Gold Paperclip Stainless Steel Smile Pendant Choker: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Hanreshe-Necklace-Paperclip-Stainless-Pendant/dp/B0B1CX17PT/ref=sr_1_214_sspa

   Collection Date
   Thu, 20 Apr 2023 05:25:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GDXzUksLq0I7bIqTVCgRXeNySV9U22qkK61WB4XgzzOj/elyb118nu+Unu4AswXk49G+Rj4LJdrn+gFB+eimTjmcJ4u1GH+HgXMiq0WIvV2rqIW8UtWmYKoLCSiBy8nNrqcxMUPNZgJ773qKzyMrrfxTgloNgkZXuR8Swii/T+8=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Hanreshe-Necklace-Paperclip-Stainless-Pendant[fs]dp[fs]B0B1CX17PT[fs]ref=sr_1_214_sspa]]_Thu,-20-Apr-2023-05-25-33-GMT.pdf

   Hash (SHA256)
   7bb7d25534e4f5b68984f1b94fbee8b5ee2816515d377be28d4dddf5e0090168

   Signature (PKCS#1v1.5)
T5j2+ZezlGESdkK9D7jz0Ua6j3J++gRKi0SCw7RcCVNSX0opqfy0eKiMoL95FvbMOYDjqOnlW2HMnNPBAvkzcyLbD/n1HZ9lTRJWCKKu2qoprM8yQkkXHpXjZ5YChqK6fjI3tq30YIFT3ZIJiD5UjmstirMks0hUM+VocB9xzeo=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 15:35:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Lr3tyVrfroH1NyWMqGWtnHFW1gab6SQWF8uj+2stLpvmt6pBjOcT4IWun73iO9x3qtBJo0iVLKtx8+kywFQjzila9YbxzY/USc6VY/GOQrxe4tadTQA2ppSCA/nyU5FzScBP5STQceq63kfS6Yxr6jAyERTpCjcuM2rk+zRNVKXxE8g8V7v6BOygcs8Y41C/NFLUldtcpFPJ/
   Hr2KPludn8TlqYra6lvQukLjqupmouWMoHtmBO4a5A7GUyeoCUuvipbQmiKG88501h9XlTfHxeQyorbZ99OyasPf72CGZojWB8DXtj1JCvbtziYbMHRDuWhamiIUpUHE0mVBxIrAw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-15-35-33-GMT.mhtml

   Hash (SHA256)
   b8afe97bcfb146804cacfc24c37955d70bab1f9bb4af975307bd8ae4bec28d07

   Signature (PKCS#1v1.5)
AIhsq3+vI7buVMUeF99oA8FInOnFqNDhuL/hRlmyX32W+8j2Ur8IOLaI3qTFzRkEOjjtivzqHNB/0OENGBoqn18buy3KvnbrAK/UQyYY3VNFGHx8Ty8jcv1SzpRN95raDJaXaN8sv7YQ8o835ASvgoTvmU0XzOV1ZD1+cUKyNSjh3BwIpPuZsvDGa
+jjMV7Gn5mZ4lu71vFfJMeTlcUSn5egsAwifQHgpdjpVql67R+BzOzfcipMvHK8oxocS/CfUkolGWultTg9K1ShsRDsVc0M6KzkU86qvtsn/Ed5Y215xt2m99jj4pzJfG/Tvixzucih8j1zCGr6iRaP4CQdTQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: SUNNYGO Happy Go Lucky Chain Necklace for Woman Girls Smiley Face Yin Yang Colorful Pearl Beads Charm Choker Necklace (Style C): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/SUNNYGO-Necklace-Smiley-Colorful-Choker/dp/B09CYJ56Y2/ref=sr_1_339

   Collection Date
   Mon, 24 Apr 2023 06:45:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VIHCEy+e8uklRCLrMmJM829vPRej1vaq/mov1YVlM2mC0IJLYKhYkk9jTA++3GvfbsyM5KhS38SFucKSjAnjPIUjkm5/3jRvBe+2b6VIAzsm70AgbvCWRWUbHX5k4ng7ZRRpg4WHAiS0Nrb3mXyGv64i6Gwbsq14tm55dNx1OJk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]SUNNYGO-Necklace-Smiley-Colorful-Choker[fs]dp[fs]B09CYJ56Y2[fs]ref=sr_1_339]]_Mon,-24-Apr-2023-06-45-41-GMT.pdf

   Hash (SHA256)
   397f27b4ad8c8a4aaa05badabf132cfa97d671b3e78a5f652d0996d58d00b2bc

   Signature (PKCS#1v1.5)
ZeIHdaKjJUAfn0K3kabtTK1eOEPeyubOLxykLVI/6c8F66cu6JQWbP4tWWX15KG0N76f36cWVgAaOgO9xHEgGKZSr3ahRUHLesHhB4AD0L0gBS3nUOjRlS9cHzCqtlIH4qyVETXbs5UFvoHI8WsARzcSbEe8bF4shiPkP5Dz8/A=
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 00:47:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gi0nVc9Ev40Qai6wgNELQAhF2/s5xCV3yhoXFH8QYxZIvZnz2+eDQ5Zvah8IAn2YmfsRODaJwoJbVS0rrIhDh4mUJUBQ3Y9+ddOyhO0mzpIjcg0tZ3woRHmpDWU0zzs9bLdceO6pAilPGWl3l9cUif9QS/gK2mG9BbP8QYDNUZq3GDZJbmc8MTQzxTsiCjwwzpSmFq3BCYp5eJSUwMVy+sT
   +Z2Z2cIGP3f09Ke3kHHp7OOtYSG0vqugiyreuHBnfBiQhdWk5TqF5P6x8AE/79cQK9WvANWcQRFp51SEw4pbgjh1TzXWYr8822Y3+WDdvpQDbcIIjqStFePEBiI1+Yg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-00-47-09-GMT.mhtml

   Hash (SHA256)
   629481468b30af2515965648518e4dbe38e8f537ad4f5354a518d52f9d61500c

   Signature (PKCS#1v1.5)
ZPb5AGVriLxzqWqCpbvFhIdPYEzyf9a+Ec0Xl77hbk5F5jJd9qbl2sS4H5sMm0SUfpQhUrfW6nxRMvvRMsgPFgXxrXhysnURTotIrYH6dcoeEbQczb+6fakVaVVmgztzcKqxCjzyu
+UKu8D0zcYZXHBpdkEeoyjNBaS0TxPfuqy84zG0WsgaH518mTtKSjyMqVXIsAJC5lrtFXWLvm1WC9+nXiIwGQ5UNdjBqK3xib8/wnX/cWmiaHfc9jxtfF5kBulmXscmlCMr2LUM7f8IujLyZPTslAw8SKx8SpVBIBqQODwC4HR+Pksj2jflVweGwHjMRUrcu4s7b//+hrU3Sg==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                  Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 09:49:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K5CAO7H6ogP6qX35Ksp1rMhwPcS/WZjGzej9wOSAN6Vp8fcX4BYF8OuKCTnwxbya26fnGkYZncFswnOCm+BfF+SiNzH2mKPe5Y/PQ0EaVCNrY79klk4zmSQ5/E8jn0igXoruRCdC8/iObbT8f1MB7LcJUp7GxmbxrHCIonBFqCjh+FpiWl6Zv8/
   lwcUWrt1eU4mgx5FEYWXTh5blBbnaLe1uDcv4mhY2wK1oQdhWK2CmJXCY1CmVFOy2DAo5pqANuqY+9WsY3ClSQTHvuIJOOTA9wYSU3Io4TqPZK9bJv3QSBxWrDu88aQJm8Trphgopf4wdOhoHhE2zHEb6lnIv5w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-09-49-31-GMT.mhtml

   Hash (SHA256)
   7d1163d7bc4acba133606396082eec1d410454cd625fe74f4f068e5070108ee2

   Signature (PKCS#1v1.5)
O97wB+az3jmWnX0yK8OmPgDbG/C8oKzbgamrZXqeY2uC7jIoSLWj8S1zgp0TgK0F+6troEQgRAT7Ign8mW2g/ajOBeaAtKGoLtRSoJ3laec80vVsyo8I3W4mV1nKXhtVtP+aN/DcqUBNlldZQhkoYSfKO/uOD4wKQmxdFPdzpXWgsZMWYMPSPDefBdyEsog
+J61M0LG2GITisu72cep3iLNktCNvuGNk0bLw7eXMVD47PbEHB3q2xrwyeS3nG6dAPWg0QGE0vBAjg6JBwdEwj/BAoF8d3x8SqzLUmdvSGJtvkCKij+Ii+suDf6XNujY7JdgiJM3a39v6Y+pYyec7/g==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | HooNiu Smiley Face Slippers for Women, Smiley Slippers Retro Preppy Slippers Soft Plush Happy Face Slippers for Women Comy Warm Non-Slip Fuzzy Fluffy Slippers | Shoes

   URL
   https://www.amazon.com/dp/B0BNN5PZRS

   Collection Date
   Wed, 10 May 2023 06:03:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AD9v4IXBzhe7X5slJLjn1IfU5GvH8sEC+sPWNgYClMY++nX9fzlMNbhSPK2oqCRFCDxQ1FEueaHstoVMeQ2H0NaTPuaxHLrwtiosUvbPSBPLc/RewxPz2vIvISC7K98Y9lPIahkR6j27IV4row/lJQve0T+m+jYP7RuhPanuoil/7miWBb5DMmemA8Ax/
   YLumBc93rNhlXVSElCzdp4Vo1P5R3fT4WudUrUxZ6yft7WcdfEBuNSKnr2yHOqZTXY+8utQ4d+aPAs6HkGiz5kWcC0gMgJ628dcS85zmv0M6W486UuyXtcxJUXzuicWOLtsUWqoGg2MGr3P8izARl1BfQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BNN5PZRS]]_Wed,-10-May-2023-06-03-29-GMT.mhtml

   Hash (SHA256)
   fa19a13ee27e95509b6d584f2b3c8dfc32e07e2ce1ab2fa6b814c08eab0cb21f

   Signature (PKCS#1v1.5)
bPZemKdK2otDp/+W9QIDRGfQWAAeEcBUZo+stlY+8YRDRov+wo7VwBEIm2p9jCjfT45jTf4I3dfiQCD1VOUKiMpxHofzCO5xve9mIecJWTz35SjaAvgAK1ALBKwDVCwG0FxaQeGES4eMvTsn2Gkx8URko1wsZEtQ9/EgqtI3ochOvgkxqJnxQQk8CNrAcMuBjJlcKrsScBZrRM0bh7G8/
Aa3na5qrSscZj3l09qLvYZMJbYXVocPNm/VaWoM92EoXOgipp0zF23GXs/KmF+a3t8HN6UOfXvQQJVynGnGngL8GoxHs/1PE4G2vQMwDCZgSQWA135u+nSQrq6eFg8ksQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: YQZIYOU 6 PCS Smiley Face Necklaces for Women - Preppy Necklace Jewelry, Y Necklaces for Women, Fashion Pendant Necklace Jewelry, Gifts for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/YQZIYOU-Smiley-Face-Necklaces-Women/dp/B0BV9Z1LVV/ref=sr_1_56

   Collection Date
   Wed, 19 Apr 2023 11:48:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   siZuHHVtytRePEl49sBdbiSF2A2pOX0F6G0K9jbid/Ph8Go+fPN1kpBmrzQP4vd1sO3jB3JztWBrNWw+JKrBBKHhBpv1ibQnniLIjxbf4YDlKhsHQx82nT2H9Pp2h6JlmvWPZF0rL2Jx2z8DAe8E6EH/r8yOpqaPm6QCkyWMysA=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]YQZIYOU-Smiley-Face-Necklaces-Women[fs]dp[fs]B0BV9Z1LVV[fs]ref=sr_1_56]]_Wed,-19-Apr-2023-11-48-29-GMT.pdf

   Hash (SHA256)
   6dfc3da0a73afda6d5d1622c2f2613b44e288842248e790b6b39db7f2e0129f4

   Signature (PKCS#1v1.5)
PIur038268GS7h76FH1vsxYTV+EbLXK+xbZeZj5SYuc59wjnr6qXBnd3HQOpHvfyhPFKXFidLlYFGxSk/cz1rWvDdrWyt0R7acTRz1BEVuZZvpD6TMvZSgkLMEB0tRdUEUB7b4UHC47xLRRsAG0ILivSo71ZqXCo67Sut/wAN+k=
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 07:00:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ct41uzihtz1zaJ5qRqXvuLZtNvrOc1VREss4EBqIap3TsvvCoGhbsOEYB7OtK7NzqLJw62jE4XePhRVYhyM/s+Aa2Hv5KJ67KE0XfdsiUJbp88nUwZZXpUfCx9bI59ferQilROJsklaAQifOfd1yeNS3SZNu5pfa4FbWVsCSqRlkuRm+67ntrolxq0cq4G0Mu11PZC8wfwnb8PXH8CfEh0Ush5ByyPpO/
   B/B/J8nM40DSZ88ms72rJrjEbwKkcz0wVwrmpFHUy8kut2STs1dWhADtQOiespJkxLFDGyyUwO6+pJfGmYbxBl8o0Jk7v9bkjONwkbEyzvo+W5Ig+WfYQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-07-00-21-GMT.mhtml

   Hash (SHA256)
   f405c04589e18221995a94286d22b7cca8ef31df37823a09a199271791722121

   Signature (PKCS#1v1.5)
ZmfwM7tlBIGwyPYKUZTcpzzmoqzCkoH8HsNqMxQxJdVpDU14ckSGkg8OyfEH1iqlt2OTXPJtlxa32ccoLIri4yq33SwVlmkoPeOXgB/y0w4o1udxJEeueGUA1iZTqF+Xpz5VNm6oaCIDqFHKxPGLmMQrqB5YP+l2tEc3wZktNUuVtbEPEOpfZ2Luj0ebYIydpc/uls8Ujx4Ws5+Gp/ikVwZgO
+0HBxZk0Jlba8l7eEjojkrSMR1H1E8iUiG3CNMaiVzMp4anteDSjuQAfzBX2V3eSekfRBhDX9/nGfgnOP7f1BZjyBvn6xowwqJM7ux6lyzkO2YkHwblZImQe4vwZA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Smiley Face Happy Stickers for Kids Circle Teacher Labels for Teachers and Mothers 1” 500pcs (Happy Smiley) : Office Products

   URL
   https://www.amazon.com/Smiley-Happy-Stickers-Teacher-Teachers/dp/B09TCFRLK5/ref=sr_1_107

   Collection Date
   Tue, 25 Apr 2023 09:07:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Q1W0g1afeUpq2rDIJqGPusewyFAORRmLB4HsWnw5knlJ9OSGRcD3aY0kHKszQBGu3MRCFGJnWMRwbfHZIx7AxTAhiYM7WCGZxT2iRHtDKlA0WUqrUsNz54WmAPijPzGqJdqkk7K2e7oJNoPnHYK8qul5p6KgS/tbKLlwZf4MPJ4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Happy-Stickers-Teacher-Teachers[fs]dp[fs]B09TCFRLK5[fs]ref=sr_1_107]]_Tue,-25-Apr-2023-09-07-12-GMT.pdf

   Hash (SHA256)
   4af6b2b17bb26134a8433a7a35a053abe62cc0736927578b6cd305d649a3daae

   Signature (PKCS#1v1.5)
W39aCcWmBu4LU14mj2yji3WzBk7VWjgiegMPctBZq36z0WfrNhomgN9t+WIQGT0mnPhkHygmrJgCZVKEc90Qv+Y94XPteRhzzVRRLvLAw2I702fTkODyVotNRkxj2HyVUifV9q1jwcD57EjtWtcThcJRXxv1U+SVj3r9FlC36DE=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 34 of 40



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 01:22:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.98

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UKrV/2QEfyNlQbdEZVR7rIznp96GkinCC2UROTYV0eIi8V4pHfv72OGn2HJ8MwXTZWpExlmqiBmr0nF/IdzfqUzOGnADYYF23nv/Oaxw2JuIqjUkSFjXjq5utae40/RypY6gCdlPh70kgViFGhV1hhBVzbWIt/
   mJNklUN2qXklt4tzljEPdP7F0SA9ruAwLtyIJQPihf7Mr7j9jpdRQv8LG1V52uwzM94ns1nOOZdWXr6nh+YBLsolkLBMCwZR/YhX3nho5ApQ1o0MIQbPKgXG5HdZOa8bt+05WRtSwqW6Cz5F4VVjEEd5nZL4elDpA2v21MTuLm11r6EaId0iG0Pw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-01-22-41-GMT.mhtml

   Hash (SHA256)
   25b694cc663a2b73ef8ddc761a40f68b0765f0e0716bd38eacceda9aadd5c99b

   Signature (PKCS#1v1.5)
boDv/2Fql3RxnNYWFWPJ9xejY5MTENvycNCessHC7/ZSTOzGnPtDaPaynO/+Z7I1lYXmgA2tvPi4UTnGIOiTvMEUkkX0hyrpWzzOfiEq+GdfnjEdDTzbVRcu9uQO2aMQ2IuJA/bUpuNSbogdqsnOzbFbWz1S4GIr5RD7H8C4Yy1vTuBOyaEE6JACpv3r/rtSqblmqZ/
kR7cFdF8jCscbCYmcwNMK7CDrCo5JrvNSfVEsql0Djm8V4YqfZobsWJWD2bLJPDcv6JD8McmJwY9oijdpBncSH0O/p/ODpgIfHTncPILorwDHSZIQ6jGmwYExBa1nC/H0SLNPl6e60jdVDg==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Korean Open Rings Dreamy Purple Cute Smiley Monster Ring Women Girls Fashion Jewelry : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Korean-Dreamy-Monster-Fashion-Jewelry/dp/B0C1WQ4VNY/ref=sr_1_147

   Collection Date
   Thu, 20 Apr 2023 06:14:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Go9PJpnAjXVGfB5Lpu0M9Ivp3FqTNkRoaj/4wlx63DmgqjjhOTiOgSInpDqq6zTAOVo6/v2OdtpVr6Qiu1T5Nu2EF4AqMq73SRtZEtTEMs29M7LQutu/mVMQaVJjaBCPLa/C49duiWlIIlgJU0dr9aZq1qkq+6crbdrmKnHBnNo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Korean-Dreamy-Monster-Fashion-Jewelry[fs]dp[fs]B0C1WQ4VNY[fs]ref=sr_1_147]]_Thu,-20-Apr-2023-06-14-20-GMT.pdf

   Hash (SHA256)
   0a1fb5126fd79b27048f5f7f1b7381f4ebc8b31dba57172b5239f16deceff6cf

   Signature (PKCS#1v1.5)
iwjIWzO02A/fA31hFcde3/S374R0hJtQxplgJCGySMOUOM5brY6I5GO3VBSBfWesTru1P0iuWzEwhFbm7qiSmkL08hcsv2sTv0jTnZ2DLqYEMxeE9yqF6au4SrknGwGzMP2nl/HdACUjxZH8jeAaPU5ae/vIQL/YurhksDvolmQ=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 10:59:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Cp1kBuxSPsmZJMrZCqy8BkBelSy7/hncL3cV5bAGqfa9KN7C3peZQlJxOSj7GmiNHSWU3FQ2SeP/SwBcAERdVIpAIFaTvftuRfH1k4IlsfftEbkUsE/kJpSboDuU3eHJW2mHsa/553xnitnnmzv7iVY8C0U88Dnj+ijWTspglwatvYDWpRM6yIGuZ761X0knkbp8wbJ0MRLI6KEippEE
   +xUuzjfczQGrJboD854Yp+9k4KwiUGJqI8wKAzZPAqcgiSimcqq7E6gYZ8wy3Rse+RG4wWHhY1DMmTp3UB7d3i2ItXs2E+Y84h/hGzQ5+bOhehaE0V1poAaYxhlU0Z+3oQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-10-59-59-GMT.mhtml

   Hash (SHA256)
   860e03c62f82f83e4ba843dfbf67720df8dde58063969f5f558fadd3a5527c72

   Signature (PKCS#1v1.5)
ERo6NDt1AU/r9cTni42ICNnGzYu/roOiWJyvEUWEC96PtkB7mwt441f2ghjKUIte1vrWYhkhSSX5vlKHVagaDYEpZ4IA61NmRofIYHoBA49cE4S9/yKow+os6+vHoz6zqOA2kEw7VTUjT5GRaLjLsWUwiRKqrfRS4ILaYLdr0QLN8AhjcC7kUDFLmCEdAMnDvKvmZiwYW6+8G1vLAWlzfXc/
KYNt5S2A0F9aXGmLKk0U4G/c05gslcqUoQZPDFlVG+LsYUr2+XyETnQgl10tAsy7wAWOdeaKUXDrT5QUVBkqz0lKa8+nkUaG2DE6rPUElYlK5eDpXdq+k6+nDZi+/g==
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Dreuyet Funny Doodle Necklace for Men Women Personalized Stainless Steel Smiley Middle Finger Pendant Necklace Unique Handmade Long Distance Friendship Necklace Jewelry Gift (Silver) | Amazon.com

   URL
   https://www.amazon.com/Dreuyet-Necklace-Personalized-Stainless-Friendship/dp/B0BYCF42BP/ref=sr_1_49_sspa

   Collection Date
   Thu, 20 Apr 2023 06:09:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LVn5Ez4qi0JOaJy0V+JrH4k+NO1xYh3w0tyKQ98hx3/TCGgw/DH1WTc07/We0+pixiTgVHuBsn6z4j2UqMxCDjWk2034CuTsWBHO+jEt374LHABxlNns445WSPiSdO1tcuRzFrK4sH5YRaFsk+0tF7jbDP0rCawqVWxrwZY1mJo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Dreuyet-Necklace-Personalized-Stainless-Friendship[fs]dp[fs]B0BYCF42BP[fs]ref=sr_1_49_sspa]]_Thu,-20-Apr-2023-06-09-22-GMT.pdf

   Hash (SHA256)
   f48489156e914bdace4df75dca56a08e7547785cf129bde0623887a6d471a875

   Signature (PKCS#1v1.5)
XJpgMTvgwPTZFloQgGbpnq9BAFDQjdej0ZR2OGoXQE97+VxBPQSq5syc9OU5TCSj38Nf+sYbfaD8/EbD7OuxtRmZDgxZTEbjE4dk8LddIM+UFrWfFc1XBxaTAPpqlHt/eTC/PXjJtGRO/x2oud/smuTEdWkUKnVnfExvUs6YeZc=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 08:53:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fnvYHp1mYBapU9efIQeOdXBT1BJjKjITxH70tl+pQYlL9hMVuvckuPxZhqjWvzGXXS3O7iIQhW0mMdSpSp2aKHJw2v5sxvhiBrnlqYmjrW35KEHXvhViq08yWnCiFwsy6hSgVBl0Q1vVLHXLAzWlR7Ij8h1s2YZ81N5uIe6jVJ5mPR8QHOUzzDCo/hV1SIrwupkvgoHef/
   CBEJxt6kKfgExv6oxOqvmsMSEnWkTiC7jqwuRlX2fxJH6csUzIL1STZz04pQivtH3w1jV5rM7TAQ5m+oazIa2YW8iCD0wLH/lSgJ9HlKDG6YJSSgDvD+aSoToU82cQpmH5B09ReMTfvA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-08-53-12-GMT.mhtml

   Hash (SHA256)
   9c09450a024b7e65140da39727920c90ef5a5eef5ef5a7c38f5b27f329e66448

   Signature (PKCS#1v1.5)
dHlvJZK0W9lVLmW3J7naa8wvXI0qLUrwjXtehsHMY4aLHebZ7H03J18oCtJy4d6m6C7ziDq8f1HiHwy1GGR0GqGPhfrzsvkZSOE63j+nZm1hotjPATVhJclkTRlzhz+yLo7+ZdrUT+Zc06bLzuPbcDUJ+LjcAru1YzzjYy9IjkzXvKB69oCKS4/qlPXQs5fZCQJr8XMgQ20I9cH9sqC9kiCopDn0aZ636+QR
+q6nTFTObYn52BQAduwjIJhUFIGZNAdcWD0H9myeSWcmOLFF5h2E5u9icZnkfKH95isCqYap8RSinAFv75E3rG79VYMZFoig8BluXvGjv5GhWqBT+w==
                                                                               Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: zuoshini Flower Plush Pillow, Sunflower Pillow Soft & Comfortable Sunflower Smiley Cushion Colorful Sun Flower Plush Home Bedroom Shop Restaurant Decor 16.5in/42cm : Home & Kitchen

   URL
   https://www.amazon.com/zuoshini-Sunflower-Comfortable-Colorful-Restaurant/dp/B08GY7NNV5/ref=sr_1_48

   Collection Date
   Tue, 09 May 2023 08:44:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QdSYJeMmVxHy5z9dGKv7AfwvRkGlufer0mScW+nqrOfFn9LEQ47BbUsHAILqm9sReIIJHy1irGi+DAC0YrTZI+rv114/whI8nLRYynt3cmbYRD5jrIeFyhMFPJDS0SiQH7sZLYUh5YBNHCC81IXigNjVjaHL26aAd62d2DONNAM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]zuoshini-Sunflower-Comfortable-Colorful-Restaurant[fs]dp[fs]B08GY7NNV5[fs]ref=sr_1_48]]_Tue,-09-May-2023-08-44-52-GMT.pdf

   Hash (SHA256)
   fb9389104da8cf15d65bee7bd0d026fe6341792961962ac508bec4abab8002b3

   Signature (PKCS#1v1.5)
erRov6BJ6rl1mb543GgyJGn0cSn4Ov5sbf3HJRIVe8vEXR8sg43tGNLHMjQd8EoVXST8F0Va+fZ+c32vKYSxB1IP+KKRxppKCoLC52K1BWNdpbuxTMrULKUz37dY+eH2ZP5/i46X7P0WzAr7XRQ3wEG0ZSWgUnYFpZSfWrn1Fo4=
                                                                                Case 0:23-cv-61203-AHS Document 38-4 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 11:38:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nwM5yoBSFKCPhpLv37hnt/GbXFGxUR6WRzkt1K9MRkwxOadRZgDhlrbySOdjz4EbrhObqFQlh3PV1Ye92LfChuatQqnaCrBJPvisyH4cqAJd7X2uxu4Uhq+Wd3+fMP61pXaYvej629x9hi7vFdMBRhKyH3R/KCIUZImvRF6vQ/RWjh1m75HsacFk9Zl3HMt9R4nFBAc26MaHHOrBwoy/
   QqlSKfDXhcKfqDAdk+sdfm4yKBIa0YwBDroKwtmhkdsOo61yP2Hi2SImsqhRj1Qd5NOyjT7DsDmOvdRJiOA2n5cBpDnMLkYrGHrbSxik+leLwLNPV5aiWUiD2bp2zFkAZg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-11-38-54-GMT.mhtml

   Hash (SHA256)
   9c7e6c19e040bee8583f2ad77dfbca9bb0e10d6e0107dba1ba70e7b24b43c236

   Signature (PKCS#1v1.5)
YulNiEQCktdzWWbI82O9h9sFyQahmrDDP9lSncUFWzmdGKDXTBW8Oo21MZkWhMHDstRCTRaQNlVBgSAhPIFdk9yRdHfUaYq9p+FBmGhGLyJfE1BFKmc1bkctwB0rBV3mepqcURY5l6Ph/OIpnNJZSNMsU0kNFuu8ya1S8OIvmIUb0lqWTXvotmklEWh3WqXq4+HFUlhP/
LitUucnhSOCU3dNZVET3CisIDf7WqLlCPuhLmMtDBPqpK6GjzRjCnS7Fo2yCVs5Hl1TZoVf7neQSuI+stTcDGDYKewUV4o8rsftpAQlE5xFDL1yQs4eGi70XN3phF0uTiwXOnEUyrEQBg==
